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                              IN THE U.S. DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Stacey L. Schmader, Leticia O’Dell, Chad    )
Nicholson, Kai Huschke, Markie Miller,      )
Malinda Clatterbuck, Michelle Sanborn,      )
Crystal Jankowski,                          )
                                            )               CIVIL ACTION NO.:
        Plaintiffs,                         )               1:20-CV-00067
                                            )
v.                                          )
                                            )
Thomas Alan Linzey, in his Individual and )
Official Capacities; Tammy Belinsky, in her )
Individual and Official Capacities; Fred    )
Walls, in his Individual and Official       )
Capacities; Edward Wells, in his Individual )
and Official Capacities; Community          )
Environmental Legal Defense Fund and the )
Center for Democratic and Environmental )
Rights,                                     )
                                            )
        Defendants.                         )


                                CERTIFICATE OF SERVICE

       I, David Koller, hereby certify that on January 17, 2020, a true and correct copy of the

Motion for Temporary Restraining Order, or, in the Alternative Motion for an Emergency Hearing

Pursuant to Rule 65 of the FRCP was filed with U.S. District Court for the Middle District of PA.

       A copy of the Motion was served via the Court’s electronic filing system upon the following:

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      Case 1:20-cv-00067-JPW-KM Document 7-2 Filed 01/17/20 Page 2 of 2




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